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Attorneys for Plaintiffs


                           IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH


 MATHEW SHAW and BROOKE SHAW,                           ORDER GRANTING EX PARTE
                                                        MOTION FOR ALTERNATIVE
          Plaintiffs,                                           SERVICE

 v.                                                           Case No. 1:24-cv-00122

 JULIUS MWALE and KAILA MWALE,                            Judge Ann Marie McIff Allen
                                                         Magistrate Judge Daphne A. Oberg
          Defendants.


         Having considered Plaintiff Mathew Shaw and Brooke Shaw’s (collectively “Plaintiffs”)

Ex Parte Motion for Alternative Service and for good cause appearing, the Motion is hereby

GRANTED.

         The Court finds:

         1.      Plaintiffs have made reasonably diligent efforts to serve Defendants Julius Mwale

and Kaila Mwale (collectively “Defendants”) via traditional means at Defendants’ personal

residence.

         2.      There exists good cause to believe Defendants have avoided service and are already

aware of this action.


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         IT IS HEREBY ORDERED that Plaintiffs shall serve the Defendants by mailing copies of

the Summons and Complaint and a copy of this Order to the Defendants by sending the same

documents:

                To their home address via prepaid U.S. First-Class Mail, and

                Via email to Julius Mwale at Julius@mmtc.life, the email address on his business

card, and Kaila Mwale at mjweiss@weissandassociatespc.com, the email address of her attorney

Matthew Weiss.

         Given the Defendants’ evasive tactics, service shall be deemed complete after the

Summons and Complaint and a copy of this Order are sent via the two methods outlined herein,

which shall be accomplished on the same date, which date will be the date of service for purposes

of calculating the appropriate response date.



         IT IS FURTHER ORDERED that the Defendants are required to pay for Plaintiffs’

expenses in attempting to serve the Defendants, including their attorneys’ fees.

         SO ORDERED this _____ day of August, 2024.



                                                BY THE COURT:



                                                ____________________________________
                                                DAPHNE A. OBERG
                                                United States Magistrate Judge




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